
Petition denied by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Jamal Bullock petitions for a writ of mandamus, alleging that the district court has unduly delayed in ruling on his 28 U.S.C. § 2254 (2012) petition. He seeks an order from this court directing the district court to act. We find the present record does not reveal undue delay in the district court. Accordingly, we grant leave to proceed in forma pauperis and deny the mandamus petition without prejudice to Bullock’s right to file another petition if the district court does not act expeditiously on his pending petition. We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before this court and argument would not aid the decisional process.

PETITION DENIED.

